






THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				The State, Respondent,
				v.
				Timothy A.
      Floyd, Appellant.
			
		
	


Appeal From York County
&nbsp;Lee S. Alford, Circuit Court Judge
Unpublished Opinion No. 2008-UP-079
Submitted February 1, 2008  Filed
  February 6, 2008
APPEAL DISMISSED


	
		
			
				Appellate Defender Eleanor D. Cleary, South Carolina Commission of
  Indigent Defense, Division of Appellate Defense, of Columbia, for Appellant.
				Attorney General Henry Dargan McMaster, Chief Deputy Attorney
  General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, all
  of Columbia; and Solicitor Kevin Scott Brackett, of York, for Respondent.
			
		
	

PER CURIAM: Timothy
  Floyd appeals his guilty pleas to
  possession with intent to distribute crack cocaine and possession of
  marijuana.&nbsp; On appeal, Floyd maintains his guilty pleas failed to conform with
  the mandates set forth in Boykin v. Alabama, 395 U.S. 238 (1969),
  because the plea court failed to advise him of his right to confront and
  cross-examine witnesses against him.&nbsp; After
  a thorough review of the record and counsels brief pursuant to Anders v.
    California, 386 U.S. 738 (1967), and State v. Williams, 305 S.C.
  116, 406 S.E.2d 357 (1991), we dismiss[1] Floyds appeal and grant counsels motion to be relieved. 
APPEAL
  DISMISSED.
ANDERSON, SHORT
  and THOMAS, JJ., concur.


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

